Motion to dismiss appeal.
Plaintiff obtained a judgment against defendant in the sum of three hundred dollars. The action was one for damages for personal injuries arising out of an automobile accident. Defendant appealed. It is here claimed in support of the motion that the purported appeal was not taken within the time allowed by law for the taking of an appeal. [1] The precise questions here presented have been passed upon in the case of Truitner v.Knight et al., ante, p. 508 [248 P. 702].
Upon the authority of that case the motion to dismiss the appeal is denied.
Cashin, J., and Knight, J., concurred.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on August 19, 1926.
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